Case 2:13-cv-01170-DMG-E Document 373 Filed 09/10/21 Page 1 of 2 Page ID #:11567



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  10   DIRECTV, LLC
  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                     WESTERN DIVISION
  14
  15
        JENNY BROWN, on behalf of                  Case No. 2:13-cv-01170-DMG-E
  16    herself and all others similarly
        situated,                                  DEFENDANT’S NOTICE OF
  17                                               MOTION AND MOTION TO
                        Plaintiff,                 DECERTIFY THE CLASS
  18
        v.                                         Hearing
  19
        DIRECTV, LLC,                              Date: November 5, 2021
  20                                               Time: 4:00 p.m.
                        Defendant.                 Place: Courtroom 8C
  21
                                                   Hon. Dolly M. Gee
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                                                             DEFENDANT’S NOTICE OF MOTION AND MOTION
        743767428.1
                                               -1-                                        TO DECERTIFY
                                                                           CASE NO. 2:13-CV-01170-DMG-E

       4846-2190-0424
Case 2:13-cv-01170-DMG-E Document 373 Filed 09/10/21 Page 2 of 2 Page ID #:11568



   1             TO PLAINTIFFS AND THEIR COUNSEL OF RECORD
   2             PLEASE TAKE NOTICE that on November 5, 2021, at 4:00 p.m., or as soon
   3   thereafter as the matter may be heard, before the Honorable Dolly M. Gee in
   4   Courtroom 8C of the United States District Court, Central District of California,
   5   Western Division, located at 350 West 1st Street, Los Angeles, CA, 90012,
   6   Defendant DIRECTV, LLC ("DIRECTV") will and hereby does move this Court,
   7   pursuant to Federal Rule of Civil Procedure 23, for an order decertifying the class.
   8             Pursuant to Local Rule 7-3, counsel for Plaintiffs and DIRECTV met and
   9   conferred on August 31, 2021 to discuss the contents of this Motion and any
  10   potential resolution.
  11             DIRECTV’s motion is based upon this Notice of Motion and Motion; the
  12   Memorandum of Points and Authorities in support of this Motion; the
  13   declarations and exhibits submitted therein; the pleadings, records, and files in
  14   this action; and such other and further evidence and argument as may be
  15   presented at the time of the hearing.
  16    Dated: September 10, 2021                  Respectfully submitted,
  17                                               MAYER BROWN LLP
  18                                               By: /s/ Hans J. Germann
  19                                               Hans J. Germann
                                                   Attorneys for Defendant
  20                                               DIRECTV, LLC
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                                                           DEFENDANT’S NOTICE OF MOTION AND MOTION
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                                                 -2-                                    TO DECERTIFY
                                                                         CASE NO. 2:13-CV-01170-DMG-E
       4846-2190-0424
